                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA


DANA JENNINGS and JOSEPH A.
FURLONG, Individually and on Behalf of All      Case No. 5:21-cv-05400
Others Similarly Situated,

                    Plaintiffs,
                                                Hon. Edward G. Smith
       v.

CARVANA, LLC,

                    Defendant.


    MEMORANDUM OF LAW IN SUPPORT OF CARVANA, LLC’s MOTION TO
             COMPEL ARBITRATION AND TO DISMISS

                                       Paul G. Gagne (Pennsylvania ID No. 42009)
                                       pgagne@kleinbard.com
                                       KLEINBARD LLC
                                       Three Logan Square
                                       Philadelphia, PA 19103
                                       Telephone: (215) 523-5302

                                       Eric Leon (New York Bar No. 2626562) (Admitted
                                       Pro Hac Vice)
                                       eric.leon@lw.com
                                       Marc S. Werner (New York Bar No. 5301221)
                                       (Admitted Pro Hac Vice)
                                       marc.werner@lw.com
                                       LATHAM & WATKINS LLP
                                       1271 Avenue of the Americas
                                       New York, NY 10020
                                       Telephone: (212) 906-1200

                                       Robert C. Collins III (Illinois Bar No. 6304674)
                                       (Admitted Pro Hac Vice)
                                       robert.collins@lw.com
                                       LATHAM & WATKINS LLP
                                       330 North Wabash Avenue, Suite 2800
                                       Chicago, IL 60611
                                       Telephone: (312) 876-7700

January 28, 2022                       Attorneys for Defendant Carvana, LLC
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        Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Carvana, LLC

(“Carvana”) respectfully submits this memorandum of law in support of its Motion to Compel

Arbitration and to Dismiss (“Motion”) the claims asserted by Plaintiffs Dana Jennings and Joseph

A. Furlong (together, “Plaintiffs”) in their Amended Complaint (Dkt. 8) (the “Complaint”).

                                          INTRODUCTION

        Each Plaintiff alleges that, upon purchasing a vehicle from Carvana, he or she entered into

a contract with Carvana that called for the payment of specified, line-item fees for state-specific

registrations, license plates, and titles. Plaintiffs allege that Carvana failed to properly register and

license their vehicles in exchange for these fees in breach of contract and in violation of

Pennsylvania’s Unfair Trade Practice Consumer Protection Law (“UTPCPL”). The only contract

that addresses the state registration, license plate, and state title fees at issue is the Retail Purchase

Agreement (“RPA”) that each Plaintiff entered into with Carvana at the time of their respective

purchases. Each RPA includes an arbitration provision that, in turn, incorporates an Arbitration

Agreement that encompasses the claims asserted in the Complaint and requires binding arbitration

on a non-class basis. Carvana, therefore, respectfully requests that the Court compel arbitration

on an individual basis and dismiss or stay Plaintiffs’ claims.

        Plaintiffs’ assertion that they can litigate their claims on a class basis because an entirely

different contract—a retail installment sales contract (“RISC”)—lacks an arbitration provision is

meritless. The RISCs, which apply when customers purchase vehicles and agree to pay the

purchase price (plus interest) in periodic installments, have nothing to do with this dispute. As the

Complaint makes clear, this dispute is about state registration, license plate, and state title fees.

The only contracts that mention such fees are the RPAs, not the RISCs. Having brought claims to

enforce the terms of the RPAs, Plaintiffs are bound by the RPAs’ arbitration provisions.




                                                    1
        In addition to being subject to individual arbitration, Plaintiffs’ claims fail as a matter of

law. Plaintiffs contend that the only enforceable terms of the parties’ agreements are those

expressly set forth within the four corners of the RISCs. But the RISCs have no terms or provisions

that speak to the registration, license plate, and title fees that Plaintiffs place at issue in this lawsuit,

and Plaintiffs thus have no basis for their breach-of-contract or UTPCPL claims. Thus, should the

Court decline to compel arbitration, it should dismiss the Complaint for failure to state a claim.

                                     FACTUAL BACKGROUND

        A.      The Fees At Issue Are Governed By Contracts That Contain An Arbitration
                Provision

        Plaintiffs allege that they each purchased a vehicle online from Carvana. Compl. ¶¶ 12,

24. According to the Complaint, Plaintiffs each paid a state registration fee of $38, a license plate

fee of $16, and a state title fee of $55 (totaling $93.00 per Plaintiff), but Carvana “failed to

complete” the registration of their vehicles in exchange for these fees.1 Id. ¶¶ 12-16, 24-28, 36-

37. The only document that identifies the individual registration, license plate, and title fees at

issue is the RPA that each Plaintiff signed, which specifically references a “Registration Fee” of

$38, a “License Plate – Electronic Issuance Fee” of $16, and a “Title Fee” of $55. See Jennings

RPA (Ex. A) at 2; Furlong RPA (Ex. C) at 2.2




1
 Plaintiffs also mention in passing an alleged “transit fee,” Compl. ¶ 203, but they do not allege
any facts that any agreement with Carvana required a transit fee, that Plaintiffs paid a transit fee,
or that Carvana failed to provide an alleged transit service.
2
 Citations to “Ex. _” refer to exhibits attached to the Declaration of Robert C. Collins III submitted
herewith. The Court may consider any agreements or documents “integral to or explicitly relied
on” in the Complaint. See Fallon v. Mercy Cath. Med. Ctr. of Se. Pa., 877 F.3d 487, 493 (3d Cir.
2017); see also, e.g., Hrapczynski v. Bristlecone, Inc., 2021 WL 3209852, at *3 (E.D. Pa. July 29,
2021) (observing that “[i]t would frustrate the purposes of the Federal Arbitration Act if plaintiffs
could avoid having their claims quickly compelled to arbitration simply by failing to mention the
existence of clearly applicable arbitration agreements in their complaints”).


                                                     2
       Plaintiffs allege that they also signed RISCs as part of their vehicle transactions (Compl.

¶¶ 12, 24), which would indicate that these particular Plaintiffs agreed to pay for their vehicles

over time. Notably, the RISCs do not mention registration, license plate or title fees, much less

the specific amounts owed for each. Compare Jennings RPA at 1 with Jennings RISC (Dkt. 13 at

Ex. 2); compare Furlong RPA at 1 with Furlong RISC (Dkt. 13 at Ex. 3).

       Each RPA provides that it is “governed by federal law and the law of the state of the [listed]

Dealership Address” and that each Plaintiff “agreed to accept title and ownership of the Vehicle

in the state of” that same dealership. See Jennings RPA (Ex. A) at 1; Furlong RPA (Ex. C) at 1.

Jennings’ RPA states that Jennings purchased a vehicle from a Carvana dealership located in

Pennsylvania, and the RPA is thus governed by Pennsylvania law. See Jennings RPA (Ex. A) at 1.

Furlong’s RPA provides that Furlong purchased a vehicle from a Carvana dealership located in

Georgia, and the RPA is thus governed by Georgia law. Furlong RPA (Ex. C) at 1.

       Each RPA contains a provision titled (in bold) “Arbitration Agreement” that expressly

incorporates the Arbitration Agreements that Plaintiffs executed with Carvana at the time of their

respective purchases. See Jennings RPA (Ex. A) at 2; Furlong RPA (Ex. C) at 2 (“The arbitration

agreement entered into between you and Dealer is incorporated by reference into and is part of this

Agreement”). The Arbitration Agreements likewise confirm that they are “part of, and . . . hereby

incorporated into,” the RPAs (as well as the RISCs). See Jennings Arb. Agmt. (Ex. B) at 1;

Furlong Arb. Agmt. (Ex. D) at 1.

       Pursuant to the arbitration provision, each Plaintiff broadly agreed to “final and binding”

arbitration of “any claim, dispute [or] controversy between” themselves and Carvana “arising from

or related to” the RPAs, the “vehicles” Plaintiffs bought, the “sale of the vehicles,” the “provision

or sale of any goods and services . . . covered by” the RPAs “or related to the vehicle,”




                                                 3
“[a]dvertisements, promotions or oral or written statements related to” the RPAs, and the

“collection of amounts” owed by Plaintiffs. See Jennings Arb. Agmt. (Ex. B) at 1; Furlong Arb.

Agmt. (Ex. D) at 1. Plaintiffs agreed that the definition of a “claim” subject to arbitration should

be construed to have “the broadest reasonable meaning,” encompassing “claims of every kind of

nature,” and including “statutory claims” and “contract claims.” See Jennings Arb. Agmt. (Ex. B)

at 2; Furlong Arb. Agmt. (Ex. D) at 2. The parties’ Arbitration Agreements are governed by the

Federal Arbitration Act (“FAA”). See Jennings Arb. Agmt. (Ex. B) at 4; Furlong Arb. Agmt. (Ex.

D) at 4.

       B.      Plaintiffs Waived The Right To File Class Litigation Or To Proceed In A
               Representative Capacity

       In addition to agreeing to submit their disputes to arbitration, Plaintiffs also agreed to a

class waiver. See Jennings Arb. Agmt. (Ex. B) at 3; Furlong Arb. Agmt. (Ex. D) at 3. The

Arbitration Agreements that Plaintiffs executed and that are incorporated into the RPAs provide:

               No Class Action or Private Attorney General Action
               Notwithstanding any language herein to the contrary, if you or we
               elect to arbitrate a Claim, neither you nor we will have the right to:
               (1) participate in a class action in court or in arbitration, either as
               a class representative, class member or class opponent; (2) act as a
               private attorney general in court or in arbitration, or (3) join or
               consolidate your Claim(s) with claims of any other person, and the
               arbitrator shall have no authority to conduct any such class, private
               attorney general or multiple-party proceeding.

Id. 3 The first page of the Arbitration Agreement, in a section titled “NOTICE OF ARBITRATION

AGREEMENT,” further notified Plaintiffs as follows:

               If you or we choose arbitration, only our individual claims will be
               arbitrated. Claims by groups of individuals or “Class” arbitrations,
               are not allowed. By choosing to arbitrate, you will be giving up your



3
  Unless otherwise indicated herein, all internal citations and quotations are omitted, and emphasis
is added.


                                                 4
                right to participate in a class action or a private attorney general
                action in court or in arbitration with respect to the dispute.

Id. at 1.

        C.      Plaintiffs Filed A Class Action Complaint In Court Despite Their Express
                Agreements to Submit Their Claims To Individual Arbitration

       Notwithstanding their agreements to arbitrate on a non-class basis, Plaintiffs filed a putative

class action complaint in the Court of Common Pleas, Philadelphia County on November 5, 2021,

and filed an amended complaint on January 14, 2022. See Dkt. 1, 8. Plaintiffs allege claims for

breach of contract and violation of the UTPCPL. See Compl. ¶¶ 190-208. All of Plaintiffs’ claims

arise out of their RPAs with Carvana and the state registration, license plate, and state title fees set

forth therein. See id. ¶¶ 12-16, 24-28, 36-37, 194, 202. Plaintiffs seek to represent a class of

individuals (the “Nationwide Class”) defined as:

                All persons in the United States east of the Mississippi River who
                entered into contracts with CARVANA to purchase vehicles since
                November 5, 2019, and CARVANA agreed to provide car
                registration services with non-temporary and permanent vehicle
                registrations in the state of their residence.

See id. ¶ 169(a).

       Plaintiffs also seek to represent a subclass of “[a]ll persons from the Commonwealth of

Pennsylvania who are members of the Nationwide Class.” See id. ¶ 169(b). Plaintiffs seek to

proceed in a representative capacity even though they specifically waived the right to act as class

representatives. See Jennings Arb. Agmt. (Ex. B) at 1; Furlong Arb. Agmt. (Ex. D) at 1.4




4
  The Complaint includes allegations related to other individuals who allegedly purchased vehicles
from Carvana. Compl. ¶¶ 40-167. None is named as a plaintiff in this action, and no class has
been certified by the Court. Those allegations are thus irrelevant for purposes of this motion.


                                                   5
                                          ARGUMENT

I.     THE COURT SHOULD ENFORCE PLAINTIFFS’                                 AGREEMENTS           TO
       ARBITRATE THEIR INDIVIDUAL CLAIMS

       There is a strong federal policy in favor of arbitration. See, e.g., AT&T v. Concepcion, 563

U.S. 333, 339 (2011); Quilloin v. Tenet HealthSys. Phil., Inc., 673 F.3d 221, 228 (3d Cir. 2012).

That policy is embodied in the FAA, which provides that an agreement to arbitrate “shall be valid,

irrevocable, and enforceable.” 9 U.S.C. § 2; see also In re Remicade (Direct Purchaser) Antitrust

Litig., 938 F.3d 515, 519 (3d Cir. 2019). Indeed, the FAA was enacted “in response to widespread

judicial hostility to arbitration agreements,” Homa v. Am. Express Co., 494 F. App’x 191, 197 (3d

Cir. 2012); see also Concepcion, 563 U.S. at 339, and “leaves no place for the exercise of discretion

by a district court,” mandating instead that “district courts shall direct the parties to proceed to

arbitration on issues as to which an arbitration provision has been signed.” Dean Witter v. Byrd,

470 U.S. 213, 218 (1985).

       Federal courts follow a two-step analysis to determine whether to enforce an arbitration

clause, asking (i) whether there was a valid agreement to arbitrate, and if so, (ii) whether that

agreement encompasses the dispute at issue. Richardson v. Coverall N. Am., Inc., 811 F. App’x

100, 103 (3d Cir. 2020). “[W]hen it cannot be said with positive assurance that the parties have

clearly and unequivocally excepted a certain dispute from arbitration, the court must compel

arbitration,” Valentin v. ADECCO, 777 F. App’x 50, 51 (3d Cir. 2019), and “any doubts concerning

the scope of arbitrable issues should be resolved in favor of arbitration.” See Brayman Constr.

Corp. v. Home Ins. Co., 319 F.3d 622, 625 (3d Cir. 2003); see also Mitsubishi v. Soler, 473 U.S.

614, 626 (1985). Dismissal based on an arbitration provision can be sought pursuant to Rule

12(b)(6). See Sanford v. Bracewell & Guiliani, LLP, 618 F. App’x 114, 118 (3d Cir. 2015).




                                                 6
       A.      Plaintiffs And Carvana Entered Into Valid, Written Agreements To Arbitrate

      There can be no dispute that each Plaintiff entered into a valid and enforceable agreement to

arbitrate with Carvana. See Jennings RPA (Ex. A) at 3 (incorporating Jennings Arb. Agmt. (Ex.

B)); Furlong RPA (Ex. C) at 3 (incorporating Furlong Arb. Agmt. (Ex. D)). Plaintiffs signed the

RPAs as part of the purchase of their vehicles, and the RPAs contain a provision titled (in bold)

“Arbitration Agreement” that expressly incorporates the respective Arbitration Agreement.5 Id.

See Sw. Energy Prod. Co. v. Forest Res., LLC, 83 A.3d 177, 187 (Pa. Super. 2013) (terms expressly

incorporated into a contract must be enforced as if stated therein); Sofran Peachtree City, LLC v.

Peachtree City Holdings, 250 Ga. App. 46, 50 (2001) (construing separate contracts as one where

they referenced each other). Each Plaintiff also separately signed the Arbitration Agreement itself,

which contains the arbitration provision and class waiver as well as a “NOTICE OF

ARBITRATION AGREEMENT.” See Jennings Arb. Agmt. (Ex. B) at 1; Furlong Arb. Agmt.

(Ex. D) at 1; Schwartz v. Comcast Corp., 256 F. App’x 515, 520 (3d Cir. 2007) (arbitration

agreement was formed under Pennsylvania law where terms were plainly available to consumer);

Pan Pac. Aviation, Inc. v. Premier Aircraft Sales, Inc., 2010 WL 11601001, at *4 (N.D. Ga. Jan.

6, 2010) (arbitration agreement was formed under Georgia law where clause was “clear and

conspicuous”). Plaintiffs thus clearly entered into valid agreements to arbitrate their disputes with

Carvana. See, e.g., Huegel v. Contstr. Co., Inc., 796 A.2d 350, 357 (Pa. Super. 2002); Parks IP

Law, LLC v. Wood, 755 F. App’x 884, 886-87 (11th Cir. 2018) (applying Georgia law).




5
  The Arbitration Agreements likewise confirm that they are “part of, and . . . hereby incorporated
into,” the RPAs. See Jennings Arb. Agmt. (Ex. B) at 1; Furlong Arb. Agmt. (Ex. D) at 1.


                                                 7
        B.      This Dispute Falls Within The Scope Of The Arbitration Agreements

      Nor can there be any dispute that the claims asserted in the Complaint fall squarely within

the scope of the parties’ arbitration agreements. See Jennings Arb. Agmt. (Ex. B) at 2; Furlong

Arb. Agmt. (Ex. D) at 2. The Court’s inquiry into the scope of an arbitration clause is limited to

“ascertaining whether the party seeking arbitration is making a claim which on its face is governed

by the contract.” Berkery v. Cross Country Bank, 256 F. Supp. 2d 359, 365 (E.D. Pa. 2003).

Courts adhere to a “presumption of arbitrability,” id., and any and all doubts regarding the scope

of the arbitration clause must be resolved in favor of arbitration. See Brayman, 319 F.3d at 625.

      The Arbitration Agreements here cover, without limitation, “any claim, dispute [or]

controversy . . . arising out of or related to” the “Contract” (including the RPA), the “vehicle” and

“sale of the vehicle,” the “provision or sale of any goods and services . . . covered by” the RPA or

“related to the vehicle,” and the “collection of amounts” owed by Plaintiffs. Jennings Arb. Agmt.

(Ex. B) at 2; Furlong Arb. Agmt. (Ex. D) at 2. The scope of the claims covered by the arbitration

provision has “the broadest reasonable meaning” and “includes claims of every kind of nature,”

including “statutory claims” and “contract claims” like those asserted here. See id.; see also Brown

v. City of Phil., 2010 WL 4484630, at *7 (E.D. Pa. Nov. 9, 2010) (compelling arbitration where

claims covered by the agreement had “the broadest possible interpretation”); Kahn v. Option One

Mortg. Corp., 2006 WL 156942, at *4 (E.D. Pa. Jan. 18, 2006) (compelling arbitration where

agreement applied to “any claim or controversy of any nature whatsoever arising out of or in any

way related to the [contract]”); Wood, 755 F. App’x at 886 (finding “no difficulty in concluding”

that claim was subject to arbitration agreement where clause covered all claims “arising out [of]

or relating to” the contract).

      Plaintiffs’ claims here plainly arise out of or relate to their “Contract[s],” and, in particular,

the RPAs. Plaintiffs’ claims hinge on the allegation that they paid state registration, license plate,


                                                   8
and state title fees in connection with the purchase of their vehicles, but that Carvana failed to

properly provide licenses and registration. See Compl. ¶¶ 12-21, 30-31, 194, 202-03, 206. These

challenged fees are found only in the RPAs, and any disputes pertaining to the RPA are within the

scope of the arbitration provision. Even more generally, Plaintiffs’ claims arise out of and relate

to the “vehicle” and the “sale of the vehicle,” “goods and services” allegedly related to the sale

and the vehicles, and the “collection of amounts” owed by Plaintiffs, all of which likewise fall

within the scope of the arbitration provision. See Jennings Arb. Agmt. (Ex. B) at 2; Furlong Arb.

Agmt. (Ex. D) at 2. Because Plaintiffs’ claims fall within the scope of the Arbitration Agreements,

they belong in binding arbitration. Berkery, 256 F. Supp. 2d at 366; Wood, 755 F. App’x at 888.

       C.      Plaintiffs Must Arbitrate Their Disputes On A Non-Class Basis

       Once in arbitration, Plaintiffs must arbitrate their disputes on an individual basis. Plaintiffs

agreed that they do not have the right to “participate in a class action in court or in arbitration,”

including as a class representative. See Jennings Arb. Agmt. (Ex. B) at 3; Furlong Arb. Agmt.

(Ex. D) at 3. This class waiver is valid and fully enforceable under Pennsylvania and Georgia law.

See, e.g., Homa, 494 F. App’x at 197; Nelson v. Gobrands, Inc., 2021 WL 4262325, at *8 (E.D.

Pa. Sept. 20, 2021) (“Pennsylvania recognizes and enforces class action waivers in arbitration

agreements.”); Pendergast v. Sprint Nextel Corp., 592 F.3d 1119, 1140 n.22 (11th Cir. 2010) (“In

cases under Georgia law or federal law, this Court has concluded that arbitration agreements

precluding class action relief generally are valid and enforceable and not unconscionable.”).

Plaintiffs were provided with the opportunity to opt out of the Arbitration Agreement, including

the class waiver, and elected not to do so. See Jennings Arb. Agmt. (Ex. B) at 2; Furlong Arb.

Agmt. (Ex. D) at 2. The Court should thus enforce the parties’ arbitration agreements as written

and compel Plaintiffs to arbitration on a non-class basis only.




                                                  9
       D.      Pennsylvania Law Does Not Bar The Enforcement Of Plaintiffs’ Agreements
               To Arbitrate On A Non-Class Basis

       To anticipate Plaintiffs’ response, Plaintiffs seem to take the position that the Arbitration

Agreements are unenforceable under Section 613(A) of the Pennsylvania Motor Vehicle Sales

Finance Act (“MVSFA”). Section 613(A) of the MVSFA was superseded by 12 Pa. C.S. §

6221(a), which provides: “An installment sale contract shall…contain all the agreements between

a buyer and an installment seller relating to the installment sale of the motor vehicle sold” and “be

complete as to all essential provisions before the buyer signs the contract.” In support of their

position, Plaintiffs point to the decision in Knight v. Springfield Hyundai, where the Court held

that “when a buyer makes a purchase of a vehicle by installment sale, the RISC subsumes all other

agreements relating to the sale.” 81 A.3d 940, 948 (Pa. Super. 2013). Plaintiffs’ reliance on

Knight and the MVSFA is misplaced.6

       In Knight, the plaintiff’s claims arose specifically out of the RISC, which, as the Court

noted, “delineated the details of the sale and the financing agreement.” Knight, 81 A.3d at 943.

Indeed, the dispute in Knight was ignited when the plaintiff advised the financing company “that

she was canceling the RISC because of Dealer’s misconduct.” Id. at 944–45 (claims arising from

concealment of prior vehicle history and wrongful repossession). Although a different agreement,

the Buyer’s Order, contained an arbitration provision, the RISC that was the subject of the parties’

dispute did not, and the Court thus found that the dispute was not subject to arbitration. Id. at 947-

49.




6
 Plaintiffs’ meritless MVSFA argument is separately inapplicable to Furlong’s claims, which are
governed by Georgia law. See Furlong RPA (Ex. C) at 1; see also Gay v. CreditInform, 511 F.3d
369, 390 (3d Cir. 2007) (finding Virginia had substantial relationship where agreement stated
plaintiff purchased services at defendant’s location in Virginia).


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       This case could not be more different. Here, Plaintiffs’ claims have nothing to do with the

RISCs. Instead, Plaintiffs’ claims arise out of and relate solely to the RPAs and, specifically, to

the state registration, license plate, and state title fees contained therein. Having chosen to bring

claims based upon the terms of the RPAs, Plaintiffs cannot avoid the Arbitration Agreements that

govern disputes under those same RPAs. See, e.g., Friedman v. Yula, 679 F. Supp. 2d 617, 628

(E.D. Pa. 2010) (“having embraced the written agreement . . . to prove his claims and his damages,

[plaintiff] cannot now walk away from the arbitration clauses in the Agreements”); LaSonde v.

CitiFinancial Mortg. Co., Inc., 614 S.E.2d 224, 226 (Ga. App. 2013) (“a party cannot have it both

ways; it cannot rely on the contract when it works to its advantage and then repute it when it works

to its disadvantage”). The doctrine of equitable estoppel, in fact, exists precisely so that Plaintiffs

cannot pick and choose among the provisions of the RPAs to which they are bound. Guiliani, 618

F. App’x at 118 (equitable estoppel precludes an “attempt to claim the benefit of [a] contract and

simultaneously avoid its burdens”); see also Ins. Co. v. Kinsale Ins. Co., 253 F. Supp. 3d 796, 803

(E.D. Pa. 2017) (“given that [plaintiff’s] claims [were] entirely dependent on” the contract,

plaintiff was “equitably estopped from objecting to the arbitration clause” in the contract);

LaSonde, 614 S.E.2d at 226.7

       Moreover, Plaintiffs’ expansive interpretation of Knight is self-defeating. According to

Plaintiffs, Knight stands for the proposition that the RISC is the only operative agreement between

Plaintiffs and Carvana relating to the purchase of Plaintiffs’ vehicles. If that were true (and it is




7
 Because the MVSFA only applies to installment sales, it also clearly would not bar the arbitration
of claims brought by any member of the proposed class who purchased a vehicle from Carvana
without an installment purchase. See 12 Pa. C.S. § 6221(a); see also, e.g., Brown, 2010 WL
4484630, at *4-5 (rejecting argument that an arbitration agreement was barred by the MVSFA
because the MVSFA “applies only to installment financing contracts for the sale of motor
vehicles,” and plaintiff had borrowed money using a vehicle he already owned as collateral).


                                                  11
not), it would lead inexorably to the conclusion that there is no basis for any of the claims asserted

by Plaintiffs in this action. That is because, as discussed, the registration, license, and title fees

that form the basis of Plaintiffs’ claim appear only in the RPAs, and nowhere else. Thus, to accept

Plaintiffs’ contention that the MVSFA applies even where, as here, the dispute is unrelated to the

RISCs would leave Plaintiffs with no agreements about which to complain.

       Applying the MVSFA to the facts of this case would also create preemption concerns

because the law is clear that a statute is preempted by the FAA if it would “stand[] as an obstacle

to the accomplishment and execution of the full purposes and objectives of Congress” in enacting

the FAA. See Generational Equity LLC v. Schomaker, 602 F. App’x 560, 563 (3d Cir. 2015); see

also Concepcion, 563 U.S. at 343, 346 (invalidating California’s Discover Bank rule because its

application interfered with arbitration). The FAA binds courts to compel arbitration of claims

subject to an arbitration agreement, “even if a state law would otherwise exclude it from

arbitration.” Taylor v. Extendicare Health Facilities, Inc., 147 A.3d 490, 509 (Pa. 2016). To

construe the MVSFA as precluding enforcement of an arbitration provision even where the

provision is part and parcel of the very contract that forms the basis of Plaintiff’s claims would

plainly create an “obstacle to the accomplishment of the FAA’s objectives” of enforcing arbitration

agreements. See Taylor, 147 A.3d at 505 (citing Concepcion, 563 U.S. at 341-43); see also

Quilloin, 673 F.3d at 230.

       Not surprisingly, another court has already rejected Plaintiffs’ contention that the MVSFA

automatically bars enforcement of any arbitration provision not contained in the RISC. In a recent

action in the Philadelphia Court of Common Pleas, the court was presented with the question of

whether the MVSFA invalidated a substantially similar arbitration agreement between Carvana

and a vehicle purchaser in light of an installment contract they also executed. See First Am.




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Compl., Burden v. Carvana, LLC, No. 200801110 (Pa. Ct. Com. Pl.) (Nov. 3, 2020) (Ex. E) ¶ 193

(alleging that “[t]he subject RISC does not contain a pre-disputed Forced Arbitration Clause (FAC)

or any other arbitration clause.”), ¶ 194 (alleging that “[u]nder Pennsylvania law, the RISC controls

the terms and conditions in a financed motor vehicle purchase, and any provisions set forth outside

the RISC are unenforceable.”), ¶ 199 (alleging that defendants filed a motion to compel arbitration

“asserting an FAC that is found in documents that defendants admit is separate from the RISC”).

The court rejected plaintiff’s argument that the MVSFA barred enforcement of the arbitration

agreement and compelled arbitration. See Order, Burden (Dec. 4, 2020) (Ex. F). Respectfully,

this Court should do the same.

II.    IN THE ALTERNATIVE, THE COMPLAINT SHOULD BE DISMISSED FOR
       FAILURE TO STATE A CLAIM

       Should the Court decline to compel arbitration of Plaintiffs’ claims, Carvana respectfully

submits that the Court should dismiss each of Plaintiffs’ claims for failing to “state a claim upon

which relief can be granted.” Fed. R. Civ. P 12(b)(6). A complaint fails to state a claim either

when it lacks a cognizable legal theory or when it fails to allege sufficient facts to support such a

theory. See Bell Atlantic v. Twombly, 550 U.S. 544, 555-56 (2007). To survive a motion to

dismiss, “[t]he complaint must contain sufficient factual matter, accepted as true, to state a claim

to relief that is plausible on its face.” Angino v. Wells Fargo Bank, N.A., 666 F. App’x 204, 206

(3d Cir. 2016) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

       A.      Plaintiffs’ Breach Of Contract Claims Should Be Dismissed For Failure To
               Allege A Breach Of Any Term In The RISCs

       Under both Pennsylvania and Georgia law, to state a claim for breach of contract a plaintiff

must plead (i) the existence of a contract, including its essential terms, (ii) the defendant’s breach

of a duty imposed by those terms, and (iii) actual loss or injury as a direct result of the breach. See

Angino, 666 F. App’x at 207; Brooks v. Branch Banking & Tr. Co., 107 F. Supp. 3d 1290, 1295


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(N.D. Ga. 2015). Plaintiffs here allege that Carvana breached the RISC by “failing to permanently

license and register the vehicles properly in exchange for the fee it charged and collected from the

Plaintiffs.” Compl. ¶ 194. Yet, Plaintiffs “point to no provision” in the RISCs that requires

Carvana to “permanently license and register the vehicles properly in exchange for the fee it

charged and collected from” Plaintiffs. See Angino, 666 F. App’x at 208; Brooks, 107 F. Supp. 3d

at 1296. Nor can they. The RISC contains no provisions related to registration, license, and title

fees. Plaintiffs thus fail to “identify any provisions of the [RISCs] that [Carvana] violated,” and

their breach of contract claim should be dismissed. Angino, 666 F. App’x at 208 (affirming

dismissal of breach of contract claim).

       Plaintiffs cannot salvage their breach of contract claims by invoking the implied duty of

good faith and fair dealing. See Compl. ¶¶ 192, 197; Sheinman Provisions, Inc. v. Nat’l Deli, LLC,

2008 WL 2758029, at *2-3 (E.D. Pa. July 15, 2008). “Pennsylvania does not recognize a claim

for breach of the covenant of good faith and fair dealing as an independent cause of action.”

Sheinman Provisions, 2008 WL 2758029, at *3. Georgia law is in accord. See Brooks, 107 F.

Supp. 3d at 1297 (under Georgia law, “there is no independent cause of action for violation of the

covenant apart from a breach of an express term of the contract”). Pennsylvania and Georgia law

instead require that Plaintiffs allege facts that would establish that Carvana violated the duty of

good faith and fair dealing by breaching an express term of the contract. See, e.g., Sheinman

Provisions, 2008 WL 2758029, at *3 (dismissing claim where plaintiff did not allege that

defendant “failed to comply with the covenant of good faith and fair dealing by breaching a specific

duty imposed by the contract other than the covenant of good faith and fair dealing[.]”); Bankston

v. RES-GA Twelve, LLC, 779 S.E.2d 80, 82 (Ga. App. 2015) (trial court properly dismissed breach

of contract claim, and thus the claim for breach of good faith and fair dealing was also properly




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dismissed). As discussed, Plaintiffs cannot adequately allege that Carvana breached the RISCs

because the RISCs contain no terms related to the registration, licensing, and titling of the vehicles.

See disc. supra 2-3. Plaintiffs’ claim for breach of contract should thus be dismissed. See

Sheinman, 2008 WL 2758029, at *3; Lorah v. SunTrust Mortg., Inc., 2010 WL 5342738, at *6

(E.D. Pa. Dec. 17, 2010) (dismissing claim for breach of duty of good faith and fair dealing where

“Plaintiffs [did] not aver that [defendant] breached specific provisions of the [contracts]”); Brooks,

107 F. Supp. 3d at 1297 (dismissing claim for breach of duty of good faith and fair dealing because

“that claim fails absent a breach of an express term of the contract”).

           B.     Plaintiffs’ UTPCPL Claims Should Be Dismissed For Multiple Reasons

           Plaintiffs’ claims under the UTPCPL also fail. As a threshold matter, Furlong’s claim

under the UTPCPL must be dismissed, because Georgia—not Pennsylvania—law governs his

claims. See supra 3, 10 n.6; Hopkins v .GNC Franchising, Inc., 2006 WL 2266253, at *4 (W.D.

Pa. Jan. 13, 2006) (dismissing consumer protection claim under Florida statute where Pennsylvania

law governed contract). Furlong agreed to accept title and ownership of the vehicle in Georgia

and agreed that Georgia law applies to the RPA. See supra 3, 10 n.6; see also Furlong RPA (Ex.

C) at 1.

           Moreover, the Complaint fails to state a UTPCPL claim as to either Plaintiff under

Pennsylvania law. To state a UTPCPL claim, a private plaintiff must allege (1) a deceptive act

that is likely to deceive a consumer acting reasonably under the circumstances; (2) justifiable

reliance; and (3) ascertainable loss caused by that justifiable reliance. Velazquez v. State Farm

Fire & Cas. Co., 2020 WL 1942784, at *3 (E.D. Pa. Mar. 27, 2020); see also Kemezis v. Matthews,

394 F. App’x 956, 959 (3d Cir. 2010) (a private plaintiff must allege sufficient “facts from which

plausible inferences of deceptive conduct and justifiable reliance thereon can be drawn”).

           Here, Plaintiffs allege that they paid the fees at issue as part of their purchase of vehicles


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from Carvana in reliance on Carvana’s alleged representations in connection with those vehicle

sales. See Compl. ¶¶ 203-206. Plaintiffs in particular allege that Carvana’s alleged representations

deceived each Plaintiff “to purchase the subject vehicle in violation of the UTPCPL.” Id. ¶ 207.

Carvana’s only alleged misrepresentations relevant to Plaintiffs’ claims, however, are line-item

entries in the RPAs for the state registration, license plate, and state title fees. See Compl. ¶¶ 12,

20, 24, 30. As already discussed, see disc. supra 2-3, the RISC contains no terms or provisions

related to the fees at issue in this case. See Jennings RPA (Ex. A) at 1; Furlong RPA (Ex. C) at 1.

Plaintiffs thus do not, and cannot, show that they relied on any alleged misrepresentation in the

RISC in deciding to pay the fees at issue, and their statutory claim should be dismissed. See, e.g.,

Hunt v. U.S. Tobacco Co., 538 F.3d 217, 227 (3d Cir. 2008).

        Dismissal of the UTPCPL is also consistent with the gist of the action doctrine, which

“provides that a tort claim based on a party’s actions undertaken in the course of carrying out a

contractual agreement[] is barred when the gist or gravamen of the cause action[,] although

sounding in tort, is, in actuality, a claim against the party for breach of its contractual obligations.”

Downs v. Andrews, 639 F. App’x 816, 819 (3d Cir. 2016); see also eToll, Inc. v. Elias/Savion

Advert., Inc., 811 A.2d 10, 20-21 (Pa. 2002). The gist of the action doctrine applies in the context

of statutory claims under the UTPCPL. See, e.g., Weiss v. Fritch, Inc., 2018 WL 1940109, at *8

(Pa. Super. Apr. 25, 2018) (holding that UTPCPL claim was barred by gist of the action doctrine).

        Here, Plaintiffs purport to base their UTPCPL claims on allegedly false or misleading

representations Carvana made by “[i]mposing and collecting car registration fees for which it did

not perform[.]” Compl. ¶ 202. Plaintiffs allege that they were misled into believing that “the fees

charged to them were lawful and bona fide,” when in fact they were not. Id. ¶ 206. But those

allegations suggest nothing more than conduct that necessarily “arose in the course of the parties’




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contractual relationship.” See eToll, 811 A.2d at 20. In other words, Plaintiffs’ statutory claims—

through which they seek to recover for the “loss of money by payment of the title/registration and

transit fees” in connection with their vehicle sales, Compl. ¶ 203—are nothing more than dressed-

up breach of contract claims. KBZ Commc’ns Inc. v. CBE Techs. LLC, 634 F. App’x 908, 911 (3d

Cir. 2015) (claims were prohibited by the gist of the action doctrine where alleged damages were

“exactly the same as [the] contract damages”). The gist of the action doctrine therefore bars the

UTPCPL claims. See id.

                                         CONCLUSION

      For the reasons set forth above, Carvana respectfully requests that the Court compel

arbitration on a non-class basis and dismiss or stay this case. Alternatively, Carvana requests that

the Court dismiss the Complaint with prejudice for failure to state a claim on which relief can be

granted. Carvana further respectfully requests all such other relief as the Court deems appropriate.


Dated: January 28, 2022                       Respectfully submitted,

                                              /s/ Eric Leon
                                              Eric Leon, one of the Attorneys for
                                              Carvana, LLC

Eric Leon (New York Bar No. 2626562) (Admitted Pro Hac Vice)
eric.leon@lw.com
Marc S. Werner (New York Bar No. 5301221) (Admitted Pro Hac Vice)
marc.werner@lw.com
LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020
Telephone: (212) 906-1200
Facsimile: (212) 751-4864




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Robert C. Collins III (Illinois Bar No. 6304674) (Admitted Pro Hac Vice)
robert.collins@lw.com
LATHAM & WATKINS LLP
330 North Wabash Avenue, Suite 2800
Chicago, IL 60611
Telephone: (312) 876-7700
Facsimile: (312) 993-9767

Paul G. Gagne (Pennsylvania ID No. 42009)
pgagne@kleinbard.com
KLEINBARD LLC
Three Logan Square
Philadelphia, PA 19103
Telephone: (215) 523-5302




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                                  CERTIFICATE OF SERVICE

       I, Eric Leon, hereby certify that I caused a copy of the foregoing to be served on the parties

listed below, via the Court’s ECF system, on January 28, 2022.


        Robert P. Cocco
        ROBERT P. COCCO, P.C.
        Pa. Id. No. 61907
        1500 Walnut Street, Suite 900
        Philadelphia, PA 19102
        Telephone: (215) 351-0200
        Email: bob.cocco@phillyconsumerlaw.com

        Attorney for Plaintiffs


 Dated: January 28, 2022




                                              /s/ Eric Leon
                                              Eric Leon, One of the Attorneys for
                                              Carvana, LLC

                                              Eric Leon
                                              eric.leon@lw.com
                                              LATHAM & WATKINS LLP
                                              1271 Avenue of the Americas
                                              New York, NY 10020




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